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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY


 UNITED STATES OF AMERICA                     SEALED CRIMINAL
                                              COMPLAINT
    -v-
                                              Mag. No. 15-4121
 MARK ANDREOTTI

       I, Jeffrey L. Fata, being duly sworn, state the following is true and correct
to the best of my knowledge and belief:

                              SEE ATTACHMENT A

     I further state that I am a Criminal Investigator with the Federal Housing
Finance Agency, and that this complaint is based on the following facts:

                              SEE ATTACHMENT B

continued on the attached pages and made a part hereof.


                                                 ~~
                                             Jef?e;rL:Fata:Criminal Investigator
                                             Federal Housing Finance Agency

Sworn to before me and subscribed in my presence,
August 13f;:2015 in Essex County, New Jersey



Hon. Michael A. Hammer
United States Magistrate Judge
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                               ATTACHMENT A

     In or about January 2010, in the District of New Jersey and elsewhere,
defendant

                              MARK ANDREOTTI

did knowingly and intentionally execute and attempt to execute a scheme and
artifice to defraud Nationstar Mortgage, LLC, and to obtain moneys, funds, and
assets owned by and under the custody and control of Nationstar Mortgage,
LLC, by means of materially false and fraudulent pretenses, representations,
and promises, which scheme and artifice was in substance as set forth in
Attachment B.

      In violation of Title 18, United States Code, Section 1344 and Section 2.
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                                ATTACHMENT B

       I, Jeffrey L. Fata, am a Criminal Investigator with the Federal Housing
Finance Agency. I have knowledge of the following facts based upon both my
investigation and discussions with other law enforcement personnel and
others. Because this affidavit is being submitted for the sole purpose of
establishing probable cause to support the issuance of a complaint, I have not
included each and every fact known to the government concerning this matter.
Where statements of others are set forth herein, these statements are related in
substance and in part. Where I assert that an event took place on a particular
date, I am asserting that it took place on or about the date alleged.

      Background

      1.    At all times relevant to this complaint:

           a.   Defendant Mark Andreotti ("defendant Andreotti") resided
and owned a home in Wyckoff, New Jersey.

              b.    Metropolitan Title and Abstract ("Metropolitan") was a
licensed title insurance agent and settlement agent located in Rutherford, New
Jersey. Andreotti was the 99% owner and President of Metropolitan.

             c.     Flagstar Bank ("Flagstar") was a financial institution, as
defined in Title 18, United States Code, Section 20.

             d.     Nationstar Mortgage LLC ("Nationstar"), was a mortgage
lending business, as defined in Title 18, United States Code, Section 27, and
thus, a financial institution, as defined in Title 18, United States Code, Section
20.

      The Scheme to Defraud

      2.    Beginning as early as in or about January 2010 through in or
about April 2011, defendant Andreotti engaged in a scheme that caused
approximately $1.3 million in loss to Flagstar and Nationstar.

       3.    Pursuant to the scheme, on or about July 24, 2009, defendant
Andreotti obtained from Nationstar a second mortgage ("Mortgage 2") on a
residence located in Wyckoff, New Jersey ("Wyckoff Residence") for the purpose
of refinancing his first mortgage ("Mortgage 1") of approximately $679,000 from
Flagstar.
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       4.    Defendant Andreotti represented on the HUD-lA form that he
would use the loan amount of Mortgage 2 from Nationstar to pay off the
remaining balance of Mortgage 1 with Flagstar. In fact, the loan documents
specified that full payment of Mortgage 1 was a condition of the loan of
Mortgage 2 to defendant Andreotti. The loan amount of Mortgage 2 was for
approximately $629,000.

       5.    Defendant Andreotti utilized Metropolitan as the settlement agent
for the transaction as stated in the HUD- lA. Once Nationstar approved
Mortgage 2, defendant Andreotti directed Nationstar to deposit the funds into a
bank account in the name of Metropolitan ("Metropolitan Account") which he
controlled.

      6.    However, instead of using the funds from Nationstar to pay off
Mortgage 1, defendant Andreotti diverted the funds from the Metropolitan
Account to pay for other transactions unrelated to the refinance of the Wyckoff
Residence in the week following the deposit. None of the funds were used to
pay off Mortgage 1 which was the purported purpose of the loan.

     7.    The Wyckoff Residence is in foreclosure proceedings because
defendant Andreotti has not made payments to Flagstar or Nationstar for
Mortgage 1 or Mortgage 2.
